      Case: 1:16-cv-05486 Document #: 195 Filed: 12/18/17 Page 1 of 2 PageID #:5244



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 VIAMEDIA, INC.,
          Plaintiff,
 v.                                                     No. 16 C 5486

 COMCAST CORPORATION and COMCAST                        Honorable Amy J. St. Eve
 SPOTLIGHT, LP,
          Defendants.

                 MOTION FOR LEAVE TO WITHDRAW PETER RATNER
               AS ONE OF THE COUNSEL OF RECORD FOR DEFENDANTS

         Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, Plaintiff Viamedia, Inc. (“Viamedia”), by its attorneys, respectfully requests that this

Court grant leave to withdraw Peter Ratner as one of the attorneys of record in this matter. In

support of this motion, Defendant states as follows:

         1.       On July 12, 2017, Peter Ratner was a member of the firm Kellogg, Hansen, Todd,

Figel & Frederick P.L.L.C., and filed a Motion for Leave to Appear Pro Hac Vice on behalf of

Viamedia.

         2.       This Court granted Mr. Ratner’s Motion for Leave to Appear Pro Hac Vice on

July 12, 2017.

         3.       Mr. Ratner is leaving the firm of Kellogg, Hansen, Todd, Figel & Frederick

P.L.L.C.

         WHEREFORE, Viamedia respectfully requests that this Court enter an order granting it

leave to withdraw attorney Peter Ratner as one of the attorneys of record.
  Case: 1:16-cv-05486 Document #: 195 Filed: 12/18/17 Page 2 of 2 PageID #:5245



Dated: December 18, 2017                   Respectfully submitted,

                                           By: /s/ Richard J. Prendergast

                                           Richard J. Prendergast
                                           Michael T. Layden
                                           RICHARD J. PRENDERGAST, LTD.
                                           111 West Washington, Suite 1100
                                           Chicago, IL 60602
                                           Tel.: (312) 641-0881
                                           Fax: (312) 641-3562

                                           One of the Attorneys for Plaintiff
                                           Viamedia, Inc.




                                       2
